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                            Exhibit 7
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     Google Chat Retention Policy
     Policy last modified: November 18, 2020

     Page last modified: February 26, 2021



     Our Google Chat retention policy aims to reduce redundant, obsolete, and trivial information in
     corporate chats. By helping us all focus on our most meaningful and useful messages, we can reduce
     time spent sifting through irrelevant old messages and reduce storage costs.


     Retention Periods
     • 24 hours if history is off

     • 30 days for history-on chats with just one one other person

     • Currently 18 months for history-on chats in a group conversation or flat (non-threaded) room
        • Exception: 30 days if the history-on flat room was created from within classic Hangouts before
          11/18/20
        • Please be aware: You may have noticed that your group chats created in classic Hangouts are
          also reflected as flat rooms in Google Chat (and vice versa). Historically, both had a retention
          period of 30 days. The current 18-month retention of flat rooms is a technical interim step and will
          be brought back to the initial 30 days earliest H1 2021 (we'll be sure to announce when this is
          happening!). If you need 18-month-long retention, please consider a threaded room instead.

     • 18 months for chats in a threaded room (history is always on and can't be turned off)


        NOTE: Turning history "on" or "off" applies only to messages sent after that change. For example, if you send
        or receive messages while history is "off" and then you turn it "on," the pre-existing messages will only be
        retained for 24 hours.



        NOTE: Once a chat's retention period expires and it's removed from your view, it can't be recovered back into
        your view.




     Business Records
     If your role involves data that is potentially subject to different or longer retention periods (for
     example, private user data or tax records), consider taking information like this off of Chat into Gmail
     (Gmail Retention Policy), Google Docs, or another storage system. If you aren't sure whether the data
     you're handling should be stored outside of Chat for a different retention period, reach out to your
     manager or product counsel (go/whichlawyer). Otherwise, feel free to reach out to us at records-
     retention@google.com for more general data retention questions.




     Legal Holds
     If you've been notified that you're subject to a "legal hold": To comply with our preservation
     obligations, your Google Chats described below will be preserved automatically (all retention periods
     are paused) while the relevant matter is pending. Still, don't manually delete any chats relevant to the
     matter at issue under any circumstances.

     • On-the-record 1:1s, Group DMs, and Flat Rooms you've sent or received

     • Threaded Rooms conversations in which you've participated (i.e., sent a message, not just received)




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     Once all applicable legal holds have been lifted, the retention periods will take effect again and
     remove expired messages.


     Policy Scope
     This policy applies to corporate Google Chat only. It applies to all employees and our extended
     workforce (temporary workers/vendors/contractors) across Alphabet (minus Calico and Sidewalk
     Labs).


     Approvals & Changes
     This policy periodically will be reviewed by Google Legal to ensure alignment and compliance with our
     legal and regulatory obligations. Any changes to this retention policy will be approved by Google
     Legal.


     Questions/Feed back
     If you have any questions about this policy, you can send us an email at records-
     retention@google.com.




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